







TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN















TEXAS COURT OF APPEALS, THIRD
DISTRICT, AT AUSTIN

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  NO.&nbsp; 03-12-00676-CV
  
 




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B. O. and T. S., Appellant

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v.

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Texas Department of Family and Protective Services,
Appellee

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  FROM THE 201st
  District Court OF Travis COUNTY,
  
  NO. D-1-FM-11-000425,
  The Honorable Tim Sulak, JUDGE
  PRESIDING
  
 




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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
  R D E R
  PER CURIAM
  Appellant T.S. filed his notice of appeal on June 7, 2012.&nbsp; The appellate record was complete November 5, 2012, making appellant=s brief due November 26, 2012.&nbsp; To
  date, appellant=s brief
  has not been filed. 
  Recent amendments to the rules of judicial administration accelerate
  the final disposition of appeals from suits for termination of parental
  rights.&nbsp; See Tex. R. Jud. Admin. 6.2(a), available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
  (providing 180 days for court’s final disposition).&nbsp; The accelerated schedule requires greater
  compliance with briefing deadlines.&nbsp; Therefore we order Mr. Robert Galvin to file appellant=s brief no later than December 13, 2012.&nbsp; If the brief is not filed by that date,
  counsel may be required to show cause why he should not be held in contempt
  of court.
  It is ordered on November 28,
  2012.
  Before Chief
  Justice Jones, Justices Rose and
  Goodwin
  
 









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